     Case 1:14-bk-15182-GM       Doc 311 Filed 05/05/21 Entered 05/05/21 15:19:10                 Desc
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                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
6                                                                       BY egonzale DEPUTY CLERK


7
                             UNITED STATES BANKRUPTCY COURT
8
                               CENTRAL DISTRICT OF CALIFORNIA
9
                                SAN FERNANDO VALLEY DIVISION
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11
12   In re:                                         Case No.: 1:14-bk-15182-GM

13   Mark Alan Shoemaker                            CHAPTER 7
14                                                  TENTATIVE RULING ON OBJECTION TO
                                                    CLAIM #2 OF DB SERVICING CORP.
15
16                                                  Date:      May 4, 2021
                                                    Time:      10:00 AM
                                      Debtor(s).    Courtroom: 303
17
18
19            For some reason Mr. Shoemaker identifies the creditor as Russell Coffill, which
20   the actual creditor is Discover Bank. But the notice address is on the proof of claim.
21   This is a credit card claim for $7,816.31. The last payment was on Sept. 12, 2007.

22   There is a four year statute of limitations to start the action and that expired on Sept. 12,

23   2011.

24            On February 18, 2010, Shoemaker filed a petition under chapter 13 (1:10-bk-

25   15744), which was dismissed on March 15, 2010. The current chapter 7 case was filed

26   on May 25, 2010. Shoemaker filed a motion to extend the automatic stay on May 26,

27   2010 and set it for hearing on June 23, 2010 (dkt. 3). Apparently there was some

28   problem with that hearing date and on June 24, 2010 he filed an application to shorten




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1    time for a hearing on that motion (dkt. 9). The application to shorten time was denied
2    on July 6, 2010 (dkt. 11) and the hearing was set for August 4, 2010. The court entered
3    its order denying the motion to impose the stay on November 17, 2010 (dkt. 32).
4           11 USC §362(c)(3) applies when a second bankruptcy case is filed by an
5    individual within a one year period of a prior case that was dismissed. Under these
6    circumstances, the automatic stay terminates 30 days after the filing of the current

7    chapter 7 petition unless the stay is extended by the court. The motion to extend

8    requires notice and a hearing that is completed within the 30 day period after the

9    subsequent case is filed. In this case the hearing was not completed within the 30 day

10   period and, even if it had been, the motion to extend the stay was denied. Thus, the

11   automatic stay in the current case terminated by force of law on June 24, 2010, even

12   though the order denying the motion to extend was not entered until November 17,

13   2010. The record clearly shows that there was no hearing within the 30 days – in fact

14   the application to shorten time was filed the day before the last day of the stay and no

15   hearing was held on that day. Thus the stay terminated as a matter of law on June 24,

16   2010. Without dealing with the issue of whether the court should count the days when

17   there was no stay before June 24, 2010, even if we add the 30 days under §108, more

18   than 4 years has passed since July 24, 2010. And unlike the issue of giving notice to

19   creditors of the denial of discharge, no notice was required concerning the termination

20   of the automatic stay because this occurred as a matter of law when no timely extension

21   was granted. No collection action was taken within the statute of limitations period and

22   so this debt is no longer subject to collection. Sustain the objection.

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          Date: May 5, 2021
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